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				LADRA v. NEW DOMINION, LLC2015 OK 53Case Number: 113396Decided: 06/30/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 53, __ P.3d __

				

NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. 
UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 





SANDRA LADRA, Plaintiff/Appellant,v.NEW DOMINION, LLC, 
and SPESS OIL COMPANY, JOHN DOES 1-25, Defendants/Appellees
APPEAL FROM THE DISTRICT COURT OF LINCOLN COUNTY, 
HONORABLECYNTHIA FERRELL ASHWOOD, DISTRICT JUDGE.
¶0 Sandra Ladra, Plaintiff/Appellant, suffered injuries from an earthquake 
while in her home located in Prague, Oklahoma. She subsequently sued the 
Defendants/Appellees, New Dominion, LLC, Spess Oil Company, and John Does 1-25, 
to recover damages for her personal injuries. The defendants responded to the 
complaint with motions to dismiss arguing the district court lacked jurisdiction 
because the Oklahoma Corporation Commission had exclusive jurisdiction over the 
claims. The district court granted the motions and dismissed the action. This 
Court retained the matter.
REVERSED AND REMANDED.
Larry K. Lenora, Gregory A. Upton, LENORA &amp; UPTON, Chandler, Oklahoma; 
Scott E. Poynter, EMERSON POYNTER LLP, Little Rock, Arkansas, for the 
Plaintiff/Appellant.Michael L. Darrah, E. Edd Pritchett, Jr., Katherine T. 
Loy, Timothy L. Martin, DURBIN, LARIMORE &amp; BIALICK, Oklahoma City, Oklahoma, 
for the Defendant/Appellee Spess Oil Company.Robert G. Gum, Bret A. Glenn, 
GUM, PUCKETT &amp; MACKENCHNIE, L.L.P., Oklahoma City, Oklahoma, for the 
Defendant/Appellee New Dominion, LLC.
WINCHESTER, J.
¶1 This is a private tort action wherein Plaintiff/Appellant Sandra Ladra 
("Appellant") seeks to recover from Defendants/Appellees New Dominion LLC, Spess 
Oil Company, and John Does 1-25 (collectively, "Appellees") compensatory and 
punitive damages for injuries proximately caused by Appellees' wastewater 
disposal practices. The Appellees moved to dismiss, arguing that the Oklahoma 
Corporation Commission had exclusive jurisdiction over the claims. The District 
Court of Lincoln County granted the motions and dismissed the action. This Court 
retained the matter. We hold that jurisdiction lies with the district 
court.
I. Facts
¶2 Appellees operate wastewater injection wells in and around Lincoln County, 
Oklahoma, as well as other wells in central Oklahoma. Since approximately 2009, 
Oklahoma has experienced a dramatic increase in the frequency and severity of 
earthquakes. 
¶3 On November 5, 2011, Appellant was at home in Prague, Oklahoma1 
watching television in her living room with her family when a 5.0 magnitude 
earthquake struck nearby. Suddenly, Appellant's home began to shake, causing 
rock facing on the two-story fireplace and chimney to fall into the living room 
area. Some of the falling rocks struck Appellant and caused significant injury 
to her knees and legs, and she was rushed immediately to an emergency room for 
treatment. She claims personal injury damages in excess of $75,000.
¶4 Appellant filed this action in the District Court of Lincoln County to 
recover damages from Appellees, alleging that their injection wells--by causing, 
inter alia, the Prague earthquake--were the proximate cause of 
Appellant's injuries. Appellees objected to the court's jurisdiction and moved 
to dismiss. The district court dismissed the case on October 16, 2014, 
explaining that the Oklahoma Corporation Commission ("OCC") has exclusive 
jurisdiction over cases concerning oil and gas operations. Appellant filed with 
this Court a Petition in Error seeking review of the district court's order. 

II. Post-Appeal Issues
¶5 In her Petition in Error, Appellant attached a five-page explanation of 
the issues raised on appeal as Exhibit C. She included in that exhibit several 
arguments and authorities that she had not previously presented to the district 
court. As a result, Appellees have moved to strike most of the exhibit, arguing 
that it violates the rules for accelerated appeal.
¶6 Under the rules for accelerated appeal, no briefing shall be allowed 
unless ordered by the appellate court. Okla. Sup. Ct. R. 1.36(g). Instead, "[a]n 
appellate court shall confine its review to the record actually presented to the 
trial court." Id. It is evident, therefore, that a party shall not 
include new arguments or authorities--which would have the effect of briefing 
the issues--in her Petition in Error. When a party attempts to circumvent this 
rule, appellate courts should strike those parts of the petition that exceed the 
scope allowed by Rule 1.36(g). See, e.g., Simington v. Parker, 
2011 OK CIV APP 28, ¶ 6, 250 P.3d 351, 353-54; O'Feery v. Smith, 
2001 OK CIV APP 142, ¶ 3, 38 P.3d 242, 244.
¶7 This Court has not ordered the parties to brief the issues. Because that 
exhibit contains arguments extrinsic to "the record actually presented to the 
trial court," we grant Appellees' motions to strike everything below the 
one-sentence heading at the top of Appellant's Exhibit C.
III. Standard of Review
¶8 A motion to dismiss is generally viewed with disfavor, and the standard of 
review before this Court is de novo. Simonson v. Schaefer, 
2013 OK 25, ¶ 3, 301 P.3d 413, 414. When evaluating a motion to dismiss, 
this Court examines only the controlling law, taking as true all of the factual 
allegations together with all reasonable inferences that can be drawn from them. 
Wilson v. State ex rel. State Election Bd., 2012 OK 2, ¶ 4, 270 P.3d 155, 157. The party moving for dismissal bears 
the burden of proof to show the legal insufficiency of the petition. Tuffy's, 
Inc. v. City of Oklahoma City, 2009 OK 4, ¶ 6, 212 P.3d 1158, 1163.
IV. Discussion
¶9 Oklahoma law vests in the OCC exclusive jurisdiction over "the 
exploration, drilling, development, production and operation of wells used in 
connection with the recovery, injection or disposal of mineral brines." 
17 O.S. 2011, § 52. Consequently, only this 
Court has jurisdiction to review, affirm, reverse, or remand any action of the 
OCC. 9 Okla. Const., § 20.
¶10 The OCC's jurisdiction is limited solely to the resolution of public 
rights. Morgan v. Oklahoma Corp. Comm'n, 2012 OK CIV APP 31, ¶ 10, 274 P.3d 832, 836 (citing Marathon Oil Co. v. 
Oklahoma Corp. Comm'n, 1994 OK 28, ¶ 14, 910 P.2d 966, 969). That is, the OCC "is without 
authority to hear and determine disputes between two or more private persons or 
entities in which the public interest is not involved." Rogers v. Quiktrip 
Corp., 2010 OK 
3, 
¶ 7, 230 P.3d 
853, 857 (footnote omitted). See also Morgan, 2012 OK CIV APP 31, ¶ 10, 274 P.3d at 836; 
Northern Pipeline Construction Co. v. Marathon Pipe Line Co., 
458 
U.S. 50, 70 (1982) (observing that, at a minimum, to be deemed a public rights 
dispute, a case must arise between government and others). "The Commission, 
although possessing many of the powers of a court of record, is without the 
authority to entertain a suit for damages." Rogers, 2010 OK 3, ¶ 6, 230 P.3d at 857. Private tort 
actions, therefore, are exclusively within the jurisdiction of district courts. 
Grayhorse Energy, LLC v. Crawley Petroleum Corp., 2010 OK CIV APP 145, ¶ 12, 245 P.3d 1249, 1254; Tenneco Oil Co. v. El Paso Nat. 
Gas Co., 1984 OK 
52, ¶ 21, 687 P.2d 
1049, 1053-54.
¶11 A district court may not, however, levy a collateral attack "upon the 
orders, rules and regulations of the [OCC]." 52 O.S. 2011, § 111.2 In Nilsen v. Ports of 
Call Oil Co., 1985 OK 
104, ¶ 11, 711 P.2d 
98, 101 n.5, we stated that "[a] collateral attack is an attempt to avoid, 
defeat, evade, or deny the force and effect of a final order or judgment in an 
incidental proceeding other than by appeal, writ of error, certiorari, or motion 
for new trial." A district court's power to inquire into the validity of an OCC 
order is limited to ascertaining if the OCC had jurisdiction to issue the order 
in the first place. Pelican Prod. Corp. v. Wishbone Oil &amp; Gas, Inc., 
1987 OK CIV APP 74, ¶ 13, 746 P.2d 209, 212. Nevertheless, an OCC order "does not 
immunize the operator, or other parties connected to the pooling order, from 
lawsuits in the district courts." Grayhorse, 2010 OK CIV APP 145, ¶ 11, 245 P.3d at 1254. 
Rather, district courts simply cannot reverse, modify, or correct OCC orders. 
Id. (citing 52 O.S. 2011, § 111).
¶12 Appellant has pled a private cause of action in this matter.3 She alleges that 
Appellees engaged in "ultrahazardous activities" that necessarily involve a risk 
of serious harm that cannot be eliminated by the exercise of utmost care; and 
that Appellees owed a duty to Appellant to use ordinary care and to not operate 
or maintain their injection wells in such a way as to cause or contribute to 
seismic activity. Whether Appellees are negligent or absolutely liable is a 
matter to be determined by a district court. NBI Services, Inc. v. Ward, 
2006 OK CIV APP 20, ¶ 20, 132 P.3d 619, 626. The OCC does not have the authority 
to resolve these issues. Kingwood Oil Co. v. Hall-Jones Oil Corp., 
1964 OK 231, ¶ 9, 396 P.2d 510, 512. Appellees confuse the statutory 
grant of exclusive jurisdiction to the OCC to regulate oil and gas 
exploration and production activities in Oklahoma, with the jurisdiction to 
afford a remedy to those whose common law rights have been infringed by 
either the violation of these regulations or otherwise. NBI Services, 
Inc., 2006 OK CIV APP 
20, ¶ 21, 132 P.3d at 626. Because this case does not seek to reverse, 
review, or modify an OCC order, but simply seeks to recover damages, 
jurisdiction is proper in the district court.
V. Conclusion
¶13 Allowing district courts to have jurisdiction in these types of private 
matters does not exert inappropriate "oversight and control" over the OCC, as 
argued by the Appellees. Rather, it conforms to the long-held rule that district 
courts have exclusive jurisdiction over private tort actions when regulated oil 
and gas operations are at issue. See Kingwood, 1964 OK 231, ¶ 7, 396 P.2d at 513. Because the Appellant 
properly brought the action in the District Court of Lincoln County, we reverse 
and remand for further proceedings consistent with the views expressed in this 
opinion.
REVERSED AND REMANDED.
CONCUR: REIF, C.J., KAUGER, WATT, WINCHESTER, TAYLOR, COLBERT, GURICH, 
JJ.
NOT PARTICIPATING: COMBS, V.C.J., EDMONDSON, J. 
FOOTNOTES
1 Prague, Oklahoma is 
located in Lincoln County.
2 52 O.S. 2011, § 111: 
No collateral attack shall be allowed upon orders, rules and regulations of 
the Commission made hereunder, but the sole method of reviewing such orders and 
inquiring into and determining their validity, justness, reasonableness or 
correctness shall be by appeal from such orders, rules or regulations to the 
Supreme Court. On appeal every such order, rule or regulation shall be regarded 
as prima facie, valid, reasonable and just. No court of this state except the 
Supreme Court, and it only on appeal, as herein provided, shall have 
jurisdiction to review, reverse, annul, modify or correct any order, rule, or 
regulation of the Commission . . . .
3 We are here concerned only with the district court's 
jurisdiction. We do not decide today whether Appellant's petition sufficiently 
stated a claim.




	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Court of Civil Appeals Cases
&nbsp;CiteNameLevel

&nbsp;1987 OK CIV APP 74, 746 P.2d 209, 58 OBJ        3111, Pelican Production Corp. v. Wishbone Oil &amp; Gas, Inc.Discussed
&nbsp;2001 OK CIV APP 142, 38 P.3d 242, 73 OBJ        170, O'FEERY v. SMITHDiscussed
&nbsp;2006 OK CIV APP 20, 132 P.3d 619, NBI SERVICES, INC. v. WARDDiscussed at Length
&nbsp;2010 OK CIV APP 145, 245 P.3d 1249, GRAYHORSE ENERGY, LLC v. CRAWLEY PETROLEUM CORP.Discussed at Length
&nbsp;2011 OK CIV APP 28, 250 P.3d 351, SIMINGTON v. PARKERDiscussed
&nbsp;2012 OK CIV APP 31, 274 P.3d 832, MORGAN v. OKLAHOMA CORPORATION COMMISSIONDiscussed at Length
Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;1994 OK 28, 910 P.2d 966, 65 OBJ        892, Marathon Oil Co. v. Corporation Comm. of State of Okla.Discussed
&nbsp;1964 OK 231, 396 P.2d 510, KINGWOOD OIL COMPANY v. HALL-JONES OIL CORPORATIONDiscussed at Length
&nbsp;2009 OK 4, 212 P.3d 1158, TUFFY'S, INC. v. CITY OF OKLAHOMA CITYDiscussed
&nbsp;2010 OK 3, 230 P.3d 853, ROGERS v. QUIKTRIP CORP.Discussed at Length
&nbsp;2012 OK 2, 270 P.3d 155, WILSON v. STATE ex rel. STATE ELECTION BOARDDiscussed
&nbsp;2013 OK 25, 301 P.3d 413, SIMONSON v. SCHAEFERDiscussed
&nbsp;1984 OK 52, 687 P.2d 1049, Tenneco Oil Co. v. El Paso Natural Gas Co.Discussed
&nbsp;1985 OK 104, 711 P.2d 98, 56 OBJ        2928, Nilsen v. Ports of Call Oil Co.Discussed
Title 17. Corporation Commission
&nbsp;CiteNameLevel

&nbsp;17 O.S. 52, Corporation Commission - JurisdictionCited
Title 52. Oil and Gas
&nbsp;CiteNameLevel

&nbsp;52 O.S. 111, Collateral Attack - Appeals - Supreme CourtDiscussed at Length


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
